                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE


JOSHUA JARRETT and                     )
JESSICA JARRETT,                       )       Case No. 3:21-cv-00419
                                       )
         Plaintiffs,                   )
                                       )
         v.                            )
                                       )
UNITED STATES OF AMERICA,              )
                                       )
         Defendant.                    )
_______________________________________)

             UNITED STATES’ MOTION TO DISMISS COMPLAINT

      Defendant the United States of America moves under Rule 12(b)(1) to dismiss the

complaint for lack of subject matter jurisdiction. As explained in the attached

memorandum of law, Declaration of Ryan O. McMonagle and Exhibit thereto, Plaintiffs’

refund claim is moot because the United States has fully refunded the federal income

taxes and statutory interest demanded in the Complaint.

Dated: February 28, 2022
                                              DAVID A. HUBBERT
                                              Deputy Assistant Attorney General

                                              /s/ Ryan O. McMonagle
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   Case 3:21-cv-00419 Document 41 Filed 02/28/22 Page 1 of 2 PageID #: 114
                               CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of February, 2022, I electronically filed the

foregoing document with the Clerk of Court using the CM/ECF system, which will

send notification of such filing to all parties registered to receive such notice.



                                           /s/ Ryan O. Mcmonagle
                                           RYAN O. MCMONAGLE
                                           Trial Attorney
                                           United States Department of Justice, Tax
                                           Division




                                     2
    Case 3:21-cv-00419 Document 41 Filed 02/28/22 Page 2 of 2 PageID #: 115
